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 5
     Attorney for David Dixon

 6
                                         UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                          )       Case No.:   2:15-CR-00118-GEB
10                                                      )
                                                        )       STIPULATION AND [PROPOSED]
11                                  Plaintiff,          )
             vs.                                                ORDER CONTINUING STATUS
                                                        )
12                                                      )       CONFERENCE; FINDING OF
     EARSHELL HAYES,                                    )       EXCLUDABLE TIME
13                                                      )
     LEON CURRIE FIELDS, JR., AND
                                                        )       DATE: April 22, 2016
14   DAVID WILLIAM DIXON,                               )
                                                                TIME: 9:00 a.m.
                                                        )
15                                 Defendant(s).                JUDGE: Hon. Garland E. Burrell, Jr.

16
                                                   STIPULATION
17
             1. By previous order, this matter was set for status on April 22, 2016.
18
             2. By this stipulation, defendants now move to continue the status conference until June 3,
19
     2016, and to exclude time between April 22, 2016, and June 3, 2016, under Local Code T4.
20
             3. The parties agree and stipulate, and request that the Court find the following:
21
                      a) The government has represented that the discovery associated with this case
22
             includes investigative reports and telephone records. This discovery has been either produced
23
             directly to counsel and/or made available for inspection and copying.
24

25
                      b) Counsel for defendants desire additional time to consult with their clients to review

26           the current charges, to conduct investigation and research related to the charges, to review the

27           discovery for this matter, and to discuss potential resolutions with his/her client. Further,

28           counsel for the government is in the process of formulating potential plea offers for these

                                                            1

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 1
             remaining defendants. The primary defendant has entered a plea and now the parties are
 2
             working on agreements for the balance of the defendants.
 3
                      c) Counsel for defendants believe that failure to grant the above-requested
 4
             continuance would deny counsel the reasonable time necessary for effective preparation,
 5
             taking into account the exercise of due diligence.
 6
                      d) The government does not object to the continuance.
 7
                      e) Based on the above-stated findings, the ends of justice served by continuing the
 8
             case as requested outweigh the interest of the public and the defendant in a trial within the
 9
             original date prescribed by the Speedy Trial Act.
10
                      f) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
11
             et seq., within which trial must commence, the time period of April 22, 2016to June 3, 2016,
12
             inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
13
             because it results from a continuance granted by the Court at defendants’ request on the basis
14
             of the Court’s finding that the ends of justice served by taking such action outweigh the best
15
             interest of the public and the defendant in a speedy trial.
16
             4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
17
     Speedy Trial Act dictate that additional time periods are excludable from the period within which a
18

19
     trial must commence.

20           IT IS SO STIPULATED.

21   DATED: April 21, 2016                                    BENJAMIN B. WAGNER
                                                              United States Attorney
22
                                                              /s/ Paul Hemesath
23                                                            PAUL HEMESATH
                                                              Assistant United States Attorney
24                                                            Attorney for Plaintiff United States
25

26
     DATED: April 21, 2016
27
                                                              /s/ Gregory W. Foster
28                                                            GREGORY W. FOSTER
                                                              Attorney for Defendant David Dixon
                                                          2

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 1

 2   DATED: April 21, 2016

 3                                                    /s/ Kelly Babineau
                                                      KELLY BABINEAU
 4                                                    Attorney for Defendant Earshell Hayes
 5   DATED: April 21, 2016
 6                                                    /s/ Philip Cozens
                                                      PHILIPCOZENS
 7                                                    Attorney for Defendant Leon Currie Fields
 8

 9                                             ORDER
10

11
     IT IS SO ORDERED.
12
     Dated: April 21, 2016
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